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                         UNITED STATES BANKRUPTCY COURT
                          SOUTHERN DISTRICT OF FLORIDA
                             WEST PALM BEACH DIVISION
                                 www.flsb.uscourts.gov

In re:
                                                                        Case No.: 12-35544-PGH
                                                                                      Chapter 11
TRINETTE DENISE HOBBS,

      Debtor.
__________________________________/


                        NOTICE OF FILING OF AFFIDAVIT
                  OF DEFAULT OF ADEQUATE PROTECTION ORDER


         PLEASE TAKE NOTICE that Secured Creditor, BSI FINANCIAL SERVICES, AS

SERVICING AGENT FOR HMC ASSETS LLC SOLELY IN ITS CAPACITY AS

SEPARATE TRUSTEE OF CAM V TRUST, by and through its undersigned attorneys, hereby

files this Notice of Filing of Affidavit of Default of Adequate Protection Order.

Dated this 31st day of July, 2018.


                                                     Respectfully submitted,

                                                     GHIDOTTI ǀ BERGER, LLC
                                                     Attorneys for Secured Creditor
                                                     3050 Biscayne Blvd. - Suite 402
                                                     Miami, Florida 33137
                                                     Telephone: (305) 501.2808
                                                     Facsimile: (954) 780.5578

                                                     By:     /s/ Chase A. Berger
                                                             Chase A. Berger, Esq.
                                                             Florida Bar No. 083794
                                                             cberger@ghidottiberger.com
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                CERTIFICATE PURSUANT TO LOCAL RULE 9011-4(B)(1)

       I certify that I am admitted to the Bar of the United States District Court for the Southern

District of Florida and I am in compliance with the additional qualifications to practice in this court

as set forth in Local Rule 2090-1(A).


                                               By:      /s/ Chase A. Berger
                                                            Chase A. Berger, Esq.

                                 CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that on July 31, 2018, I electronically filed the foregoing document

with the Clerk of the Court using CM/ECF.

       I also certify that the foregoing document is being served this day, either via transmission

of Notice of Electronic Filing generated by CM/ECF or by first class U.S. Mail, upon the following

and all interested parties listed on the attached Service Matrix.

Debtor                                               U.S. Trustee
Trinette Denise Hobbs                                Office of the US Trustee
1556 W. 35th Street                                  51 S.W. 1st Avenue - Suite 1204
Riviera Beach, FL 33404                              Miami, FL 33130

Debtor’s Counsel                                     Counsel for Trustee
David L. Merrill, Esq.                               Heidi A. Feinman, Esq.
The Associates                                       Office of the US Trustee
1525 Prosperity Farms Road, Suite B                  51 S.W. 1st Avenue -#1204
West Palm Beach, FL 33403                            Miami, FL 33130



                                               By: /s/ Chase A. Berger
                                                       Chase A. Berger, Esq.
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